                                                                            United States District Court
                                                                              Southern District of Texas
                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS                             ENTERED
                          GALVESTON DIVISION                                     June 03, 2019
                                                                              David J. Bradley, Clerk

Michelle Garcia, et al.                    §
                                           §
versus                                     §       Civil Action 3:19−cv−00173
                                           §
Morgan Roofing, LLC, et al.                §

                          STANDING PROTECTIVE ORDER

1. This Standard Protective Order shall apply to information, documents, excerpts
   from documents, and other materials produced in this action pursuant to Federal
   Rules of Civil Procedure governing disclosure and discovery.

2. Information, documents, and other materials may be designated by the producing
   party in the manner permitted ("the Designating Person"). All such information,
   documents, excerpts from documents, and other materials will constitute
   "Designated Material" under this Order. The designation shall be either (a)
   "CONFIDENTIAL" or (b) "CONFIDENTIAL−ATTORNEYS' EYES ONLY."
   This Order shall apply to Designated Material produced by any party or
   third−party in this action.

3. "CONFIDENTIAL" information means information, documents, or things that
   have not been made public by the disclosing party and that the disclosing party
   reasonably and in good faith believes contains or comprises (a) trade secrets, (b)
   proprietary business information, or (c) information implicating an individual's
   legitimate expectation of privacy.

4. "CONFIDENTIAL−ATTORNEY'S EYES ONLY" means CONFIDENTIAL
   information that the disclosing party reasonably and in good faith believes is so
   highly sensitive that its disclosure to a competitor could result in significant
   competitive or commercial disadvantage to the designating party.

5. Designated Material shall not be used or disclosed for any purpose other than the
   litigation of this action and may be disclosed only as follows:

      a. Parties: Material designated "CONFIDENTIAL" may be disclosed to
         parties to this action or directors, officers and employees of parties to this
         action, who have a legitimate need to see the information in connection with
         their responsibilities for overseeing the litigation or assisting counsel in
         preparing the action for trial or settlement. Before Designated Material is
         disclosed for this purpose, each such person must agree to be bound by this
         Order by signing a document substantially in the form of Exhibit A.
      b. Witnesses or Prospective Witnesses: Designated Material, including material
         designated "CONFIDENTIAL−ATTORNEYS' EYES ONLY," may be
         disclosed to a witness or prospective witness in this action, but only for
         purposes of testimony or preparation of testimony in this case, whether at
         trial, hearing, or deposition, but it may not be retained by the witness or
         prospective witness. Before Designated Material is disclosed for this
         purpose, each such person must agree to be bound by this Order, by signing
         a document substantially in the form of Exhibit A.

      c. Outside Experts: Designated Material, including material designated
         "CONFIDENTIAL−ATTORNEYS' EYES ONLY," may be disclosed to an
         outside expert for the purpose of obtaining the expert's assistance in the
         litigation. Before Designated Material is disclosed for this purpose, each
         such person must agree to be bound by this Order, by signing a document
         substantially in the form of Exhibit A.

      d. C o u n s e l : D e s i g n a t e d M a t e r i a l , i n c l u d i n g m a t e r i a l d e s i g n a t e d
         "CONFIDENTIAL−ATTORNEYS' EYES ONLY," may be disclosed to
         counsel of record and in−house counsel for parties to this action and their
         associates, paralegals, and regularly employed office staff.

      e. Other Persons: Designated Material may be provided as necessary to
         copying services, translators, and litigation support firms. Before Designated
         Material is disclosed to such third parties, each such person must agree to be
         bound by this Order by signing a document substantially in the form of
         Exhibit A.

6. Prior to disclosing or displaying any Designated Material to any person, counsel
   shall:

      a. Inform the person of the confidential nature of the Designated Material; and

      b. Inform the person that this Court has enjoined the use of the Designated
         Material by him/her for any purpose other than this litigation and has
         enjoined the disclosure of that information or documents to any other person.

7. The confidential information may be displayed to and discussed with the persons
   identified in Paragraphs 5(b) and (c) only on the condition that, prior to any such
   display or discussion, each such person shall be asked to sign an agreement to be
   bound by this Order in the form attached hereto as Exhibit A. In the event such
   person refuses to sign an agreement in substantially the form attached as Exhibit A,
   the party desiring to disclose the confidential information may seek appropriate
   relief from the Court.

8. A person having custody of Designated Material shall maintain it in a manner that
   limits access to the Designated Material to persons permitted such access under this
   Order.
9. Counsel shall maintain a collection of all signed documents by which persons have
   agreed to be bound by this Order.

10. Documents shall be designated by stamping or otherwise marking the documents
    with the words "CONFIDENTIAL" or "CONFIDENTIAL−FOR ATTORNEYS'
    EYES ONLY" thus clearly identifying the category of Designated Material for
    which protection is sought under the terms of this Order. Designated Material not
    reduced to documentary form shall be designated by the producing party in a
    reasonably equivalent way.

11. The parties will use reasonable care to avoid designating as confidential documents
    or information that does not need to be designated as such.

12. A party may submit a request in writing to the party who produced Designated
    Material that the designation be modified or withdrawn. If the Designating Person
    does not agree to the redesignation within fifteen business days, the objecting party
    may apply to the Court for relief. Upon any such application, the burden shall be
    on the Designating Person to show why the designation is proper. Before serving a
    written challenge, the objecting party must attempt in good faith to meet and confer
    with the Designating Person in an effort to resolve the matter. The Court may
    award sanctions if it finds that a party's position was taken without substantial
    justification.

13. Deposition transcripts or portions thereof may be designated either (a) when the
    testimony is recorded, or (b) by written notice to all counsel of record, given within
    ten business days after the Designating Person's receipt of the transcript in which
    case all counsel receiving such notice shall be responsible for marking the copies
    of the designated transcript or portion thereof in their possession or control as
    directed by the Designating Person. Pending expiration of the ten business days,
    the deposition transcript shall be treated as designated. When testimony is
    designated at a deposition, the Designating Person may exclude from the
    deposition all persons other than those to whom the Designated Material may be
    disclosed under paragraph 5 of this Order. Any party may mark Designated
    Material as a deposition exhibit, provided the deposition witness is one to whom
    the exhibit may be disclosed under paragraph 5 of this Order and the exhibit and
    related transcript pages receive the same confidentiality designation as the original
    Designated Material.

14. Any Designated Material which becomes part of an official judicial proceeding or
    which is filed with the Court is public. Such Designated Material will be sealed by
    the Court only upon motion and in accordance with applicable law. This Protective
    Order does not provide for the automatic sealing of such Designated Material. If it
    becomes necessary to file Designated Material with the Court, a party must move
    to file the Designated Material under seal.

15. Filing pleadings or other papers disclosing or containing Designated Material does
    not waive the designated status of the material. The Court will determine how
    Designated Material will be treated during trial and other proceedings as it deems
    appropriate.
16. Upon final termination of this action, all Designated Material and copies thereof
    shall be returned promptly (and in no event later than forty−five (45) days after
    entry of final judgment), returned to the producing party, or certified as destroyed
    to counsel of record for the party that produced the Designated Material, or, in the
    case of deposition testimony regarding designated exhibits, counsel of record for
    the Designating Person. Alternatively, the receiving party shall provide to the
    Designating Person a certification that all such materials have been destroyed.

17. Inadvertent production of confidential material prior to its designation as such in
    accordance with this Order shall not be deemed a waiver of a claim of
    confidentiality. Any such error shall be corrected within a reasonable time.

18. Nothing in this Order shall require disclosure of information protected by the
    attorney−client privilege, or other privilege or immunity, and the inadvertent
    production of such information shall not operate as a waiver. If a Designating Party
    becomes aware that it has inadvertently produced information protected by the
    attorney−client privilege, or other privilege or immunity, the Designating Party
    will promptly notify each receiving party in writing of the inadvertent production.
    When a party receives notice of such inadvertent production, it shall return all
    copies of inadvertently produced material within three business days. Any notes or
    summaries referring or relating to any such inadvertently produced material subject
    to claim of privilege or immunity shall be destroyed forthwith. Nothing herein shall
    prevent the receiving party from challenging the propriety of the attorney−client
    privilege or work product immunity or other applicable privilege designation by
    submitting a challenge to the Court. The Designating Party bears the burden of
    establishing the privileged nature of any inadvertently produced information or
    material. Each receiving party shall refrain from distributing or otherwise using the
    inadvertently disclosed information or material for any purpose until any issue of
    privilege is resolved by agreement of the parties or by the Court. Notwithstanding
    the foregoing, a receiving party may use the inadvertently produced information or
    materials to respond to a motion by the Designating Party seeking return or
    destruction of such information or materials. If a receiving party becomes aware
    that it is in receipt of information or materials which it knows or reasonably should
    know is privileged, Counsel for the receiving party shall immediately take steps to
    (i) stop reading such information or materials, (ii) notify Counsel for the
    Designating Party of such information or materials, (iii) collect all copies of such
    information or materials, (iv) return such information or materials to the
    Designating Party, and (v) otherwise comport themselves with the applicable
    provisions of the Rules of Professional Conduct.

19. The foregoing is entirely without prejudice to the right of any party to apply to the
    Court for any further Protective Order relating to Designated Material; or to object
    to the production of Designated Material; or to apply to the Court for an order
    compelling production of Designated Material; or for modification of this Order; or
    to seek any other relief from the Court.
20. The restrictions imposed by this Order may be modified or terminated only by
    further order of the Court.

   SIGNED at Galveston, Texas on the 3rd of June 2019.
                                    EXHIBIT A

       I have been informed by counsel that certain documents or information to be
disclosed to me in connection with the matter entitled Garcia et al v. Morgan Roofing,
LLC et al have been designated as confidential. I have been informed that any such
documents or information labeled "CONFIDENTIAL PRODUCED PURSUANT TO
PROTECTIVE ORDER" are confidential by Order of the Court.
       I hereby agree that I will not disclose any information contained in such
documents to any other person. I further agree not to use any such information for any
purpose other than this litigation.




_______________________________              DATED: _________________________
